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               Nos. 23-15049, 23-15050, 23-15051 (consolidated)

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                               Theresa Sweet, et al.,
                                Plaintiffs-Appellants,
                                           &
Everglades College, Inc., Lincoln Educational Services Corporation, and American
                                National University
                               Intervenors-Appellants,

                                       v.

                             Miguel Cardona, et al.,
                              Defendants-Appellees.


                On Appeal from the United States District Court
                    for the Norther District of California
                   Honorable William Alsup, District Judge

                          Brief Of Amicus Curiae
                      Hamilton Lincoln Law Institute
                    In Support Of Intervenor Appellants
                     Filed With Consent Of All Parties


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                    Rule 26.1 Corporate Disclosure Statement

      Hamilton Lincoln Law Institute (“HLLI”) is an IRS § 501(c)(3) non-profit
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stock and is neither owned by nor is the owner of any other corporate entity, in part or
in whole. HLLI is operated by a volunteer board of directors.




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                               Interest of Amicus Curiae

       Hamilton Lincoln Law Institute (“HLLI”) is a public interest organization
dedicated to protecting free markets, free speech, limited government, and separation

of powers against regulatory abuse and rent-seeking. The Center for Class Action
Fairness (“CCAF”) is part of HLLI and its primary mission is to act as a check on
abusive class-action litigation. HLLI, which is independent of the parties to this action,

litigates subjects particularly relevant to this case, such as protecting against abusive and
collusive class-action settlements, see e.g., McKinney-Drobins v. Oreshack, 16 F.4th 594, 609
(9th Cir. 2021) (representing objector challenging settlement that was the product of

collusion); Ark. Tchr. Ret. Sys. v. State St. Corp., 25 F.4th 55 (1st Cir. 2022) (appearing as
amicus at request of court to defend district court’s decision imposing sanctions on
plaintiffs’ counsel for misconduct); and challenging government overreach and

regulatory abuse. See Competitive Enter. Inst. v. FCC, 970 F.3d 372 (D.C. Cir. 2020)
(challenging regulatory action; HLLI was at the time part of CEI).
       HLLI files this amicus brief in support of reversal of the district court’s decision.

Counsel for the parties to this appeal have consented to the filing.

                 Federal Rule of Appellate Procedure 29 Statement

       Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), HLLI affirms that
no counsel for a party authored this brief in whole or in part, no party or party’s counsel

contributed money that was intended to fund preparing or submitting the brief, and no
person other than amicus, its members, or its counsel has made any monetary
contributions intended to fund the preparation or submission of this brief.

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                               Summary of Argument

      The district court erred when it rejected an earlier settlement in this case, thereby
allowing the parties to negotiate a new agreement that amounts to legislation disguised

as a judicial settlement. The new settlement transformed what had been a legitimate
adversarial lawsuit into a joint effort by the parties to achieve a policy goal—en masse
student debt relief—that otherwise would have been unattainable in the litigation as

originally framed.
      Unlike the original complaint and initial settlement, the settlement at issue
created three subclasses: Group 1, the Automatic Relief Group, consists of 196,000

borrowers who attended one of the schools listed in Exhibit C of the settlement, and
will receive full cancelation of outstanding student debt and complete refunds of
amounts paid (3-ER-580, 582-83); Group 2, the Decision Group, will have borrower-

defense (“BD”) claims reviewed under a “new process” that presumes there is a valid
claim on which the Secretary must act on within six to thirty months, thereby all but
assuring full debt cancellation and refunds (3-ER-584-85); and Group 3, the “Post-class

Applicant Group” who are borrowers that submitted a BD application after the
execution of the settlement but prior to final approval. 3-ER-587. Group 3 consists of
approximately 205,000 borrowers, largely because the parties spent months recruiting

borrowers to become members. They too will benefit from a “streamlined” BD process
and will be accorded full debt relief and refunds if the Secretary does not act on their
applications within thirty-six months. 3-ER-587. No wonder that the district court

labeled this settlement a “bonanza” and a “grand slam home run.” 1-ER-34, 48.




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      The parties agreed to an unlawful settlement that: (1) ignores Congress’s carefully
crafted statutory structure regarding higher education financial assistance; (2) bypasses

the statutorily prescribed BD regulations by creating a whole new process that avoided
typical APA notice-and-comment requirements; and (3) failing to meet the class
certification prerequisites under Rule 23(a) and (b)(2) by adding a new group of class

members and incorporating individualized monetary relief for the Group 1 plaintiffs.
      The district court abused its discretion when it approved this settlement that, by
design, undermines the Constitution’s separation of powers protections. In reaching

the settlement the Secretary of the Department of Education (“Secretary” and “ED”
respectively) disregarded his duty to faithfully follow statutory and regulatory
responsibilities and, in doing so, the Secretary infringed on Congress’s power of the

purse. The current Secretary’s management of the litigation stands in stark contrast to
his predecessor who attempted to preserve the initial settlement and was committed to
follow the procedures in the BD regulations and the terms of the initial settlement. 4-

ER-716. Instead of acting as a restraint, the district court condoned this overreach by
the Executive branch. Although the district court’s aims in approving the settlement
may have been laudable given the extreme backlog of claims and perceived resource

constraints, 1-ER-39, the settlement violated an array of legal authorities and its
approval was an abuse of discretion that cannot stand.




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                                       Argument

I.     The district court abused its discretion when it approved a settlement in
       which the parties ignored established statutory, regulatory and Rule 23
       limitations.

       The original settlement had all the hallmarks of a typical consent order; it
included the injunctive relief that the plaintiffs originally sought and included penalties
for failure to act. 4-ER-780-82, 785-87. Had the parties and district court stopped there

it is unlikely that this case would be before the Court. But the plaintiffs didn’t like the
rate at which the Secretary’s predecessor was denying claims as it processed the backlog,
and apparently neither did the district court. 4-ER-724.

       The plaintiffs’ original complaint simply sought to compel the Secretary to act
on the backlog of BD claims. 4-ER-834, 892-94. To that end, the original settlement
simply granted the class members the relief originally sought—action on the backlog of

BD claims. It also included enforcement mechanisms if ED failed to act as promised
in the settlement agreement. 4-ER-776, 780-787. When the district court learned of the
form rejections it blew-up the agreement, stating that there had been no meeting of the

minds, and re-opened the case.1 4-ER-711, 720. The district court could have
responded by requiring ED to justify the denials with “explanatory details under the
Department’s own regulations, the Administrative Procedures Act, and due process.”


       1 The form rejection letters did not amount to a blanket denial of borrower-
defense claims by the prior administration. Indeed, even the district court acknowledged
that approximately 10% of claims had been resolved on the merits and had not been
denied via a form letter. 4-ER-724.



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4-ER-716. Indeed, this is what the plaintiffs originally requested. 4-ER-743, 755-69.
And the prior administration attempted to preserve the original settlement, asserting

that it disagreed with plaintiffs’ “view” of agreement, but “would consent to approval
of the settlement as written.” 4-ER-716.
       The district court’s rejection of the original settlement, however, gave the

plaintiffs an opening, and with the change in administration, they seized it by
negotiating a revised settlement with a pliant Secretary who was willing to provide relief
that far exceeded the relief requested in either the original or amended complaint. 3-

ER-560 (noting that it was ED that agreed to extend relief to Group 3). This allowed
the Secretary to achieve a political goal—en masse student debt relief. 3-ER-563; 2-ER-
214, 217.

       The revised settlement runs afoul of statutory provisions of the HEA, diverges
from the relevant BD regulations while imposing a revised processes to resolve claims
from three distinct groups of borrowers, and thereby fails Rule 23 class certification

requirements.
       Consequently, a simple class action case seeking declaratory relief that initially
was resolved by a typical consent order, was transformed into a complete capitulation.

The only thing that changed was a new administration that has been outspoken in its
commitment to provide broad, blanket student debt relief. 2-ER-214, 227. While the
prior Secretary litigated the case within the confines of Rule 23 and the relevant statutes

and regulations, the new administration went out its way to facilitate a settlement that
the district court labeled a “bonanza.”



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       The district court was dismissive of the objections to the parties’ collusion that
resulted in the “bonanza” for class members, stating incorrectly that “the purpose of

any such [collusion] objection is to protect absent class members from settlements that
disproportionately reward named plaintiffs and their counsel at the expense of the class
as a whole.” 1-ER-52-53. True, collusion in the Rule 23 context typically arises when

settling parties fail to adequately account for interests of absent class members, but the
prohibition is not so unduly limited.2 The “fair, reasonable, and adequate” standard of
Rule 23 for approving class action settlements is similar to the standard district courts

must apply when approving consent orders. But approval of a consent decree or similar
settlement requires more. “[B]efore entering a consent decree the court must satisfy
itself that the agreement is ‘fair, adequate, and reasonable’ and ‘is not illegal, a product

of collusion, or against the public interest.’” United States v. North Carolina, 180 F.3d 574,
581 (4th Cir. 1999) (quoting United States v. Colorado, 937 F.2d 505, 509 (10th Cir. 1991));
see also United States SEC v. Citigroup Global Mkts., 752 F.3d 285, 295 (2d Cir. 2014)

(district court must determine if settlement “is tainted by improper collusion or
corruption of some kind”); Pigford v. Glickman, 206 F.3d 1212, 1215 (D.C. Cir. 2000)
(applying Rule 23(e) to consent decree to determine if “the settlement is fair, adequate,

       2 Courts appropriately forbid settling counsel from self-dealing where “class
counsel have allowed pursuit of their own self-interests . . . to infect the negotiations,”
which typically results in disproportionate attorney’s fees compared to class relief. In re
Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011). Courts sometimes
refer to self-dealing interchangeably with “collusion” (Briseño v. Henderson, 998 F.3d
1014, 1023 (9th Cir. 2021)), but self-dealing does not require the sort of party
coordination evident in this case. At minimum, self-dealing is not the only form of
“collusion” proscribed by Rule 23.


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and reasonable and is not the product of collusion between the parties”); United Black
Firefighters Ass’n v. Akron, 976 F.2d 999, 1004 (6th Cir. 1992) (holding in class action

civil rights suit that “judicial approval may not be obtained for a consent decree that is
illegal or is the product of collusion).
       In approving the settlement, the district court had to buy into three distinct legal

fictions adopted by the parties to reach the revised settlement. First, the parties
determined to resolve BD claims brought under one provision of the HEA, 20 U.S.C.
§ 1087e(h), by relying upon totally separate HEA provisions unrelated to borrower-

defense. Second, the parties purported to settle BD claims by “crafting a new process”
rather than adhering to the statutorily mandated regulatory processes that had been
vetted through the typical APA notice-and-comment procedures. Finally, the

settlement transformed a case that initially sought straight-forward injunctive and
declaratory relief under Rule 23(b)(2) into one where individualized monetary claims
predominate and declaratory relief is an afterthought. The district court abused its

discretion when it adopted these legal fictions.

       A.     The parties’ settlement has no statutory authority.

       The Supreme Court has not hesitated to set aside any consent decree or
settlement that violates the statute under which the relief is granted. See Firefighters Local

Union No. 1784 v. Stotts, 467 U.S. 561, 576 n.9 (1984); Sys. Fed’n No. 91, Rwy. Emp. Dep’t.
v. Wright, 364 U.S. 642, 652 (1961). Although this case was initially about the borrower-
defense statute, the parties applied a tortured interpretation of other HEA provisions

to justify the settlement. 2-ER-276-77.



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      A brief summary of the federal student assistance program of the HEA is
necessary. See 20 U.S.C. Chapter 28, Subchapter IV. As of July 2010 all new federal

student loans have been direct loans under the William D. Ford Direct Loan Program.
20 U.S.C. Chapter 28 Subchapter IV Part D (§§ 1087a – 1087j). Two other relevant
federal student loan programs are the Federal Family Education Loan (“FFEL”)

Program and the Perkins Loan Program. 20 U.S.C. Chapter 28, Subchapter IV, Part B
(§§ 1071 – 1087-4) and Part E (§§ 1087aa – 1087ii), respectively. FFEL loans are indirect
loans in which a lender such as a commercial bank would fund the loan to the borrower.

The loan was then guaranteed by a guaranty agency, typically a state agency or a non-
for-profit. If a borrower defaulted on an FFEL loan, the guaranty agency would make
whole the private lender for the outstanding balance and would then seek to rehabilitate

the loan working with the borrower to resume payments. Perkins loans, which also have
been discontinued, are student loans in which the college, rather than a private lender
is the intermediary. Each of the financial aid programs are accorded a separate Part

within Subchapter IV and each have their own administrative features and
requirements. Subchapter IV also includes two Parts that apply across all loan programs:
Part G, General Provisions Relating to Student Assistance Programs (§§ 1088 – 1098h);

and Part G-1, Higher Education Relief Opportunities for Students (the HEROES Act;
§§ 1098aa -1099).
      The case and the original settlement concerned BD claims brought pursuant to

20 U.S.C. § 1087e(h). That provision applies to Direct Loans under Part D, and requires
the Secretary to “specify in regulations which acts or omissions of an institution of
higher education a borrower may assert as a defense to repayment of a loan made under

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this part.” FFEL loans not converted to Direct Loans are not eligible for borrower-
defense relief, since § 1087e(h) only applies to loans made under Part D, the Direct

Loan program. 34 C.F.R. § 685.212(k). The parties conveniently disposed of this
requirement with a waive of the hand. Dkt. 337 at 3 (Joint response by parties).
       The original settlement provided the injunctive relief plaintiffs sought—

compelling ED to act upon BD claims. 4-ER-780-85. The final settlement, however,
does not rest upon the borrower-defense statute because it could not provide the
“bonanza” relief the collusive settlement grants. Rather, the parties and the district court

assert that the statutory basis for the settlement rests upon provision related to FFEL
loans, 20 U.S.C § 1082(a)(6). 1-ER-35-38; 2-ER-276-77. That provision is a subsection
of a statute listing the legal powers the Secretary has over loans made pursuant to the

FFEL program. See 20 U.S.C. § 1082 (Legal Powers and Responsibilities). It grants the
Secretary the authority to “compromise, waive, or release” a FFEL loan. The parties
and the district court, however, through creative interpretation and cherry-picking

across different Parts of Subchapter IV, incorporated § 1082(a)(6) into the Direct Loan
Program.
       To accomplish this the parties leaned on § 1087e(a)(1) which states that the

“terms and conditions” of certain categories of FFEL loans apply to Direct Loans. But
the legal powers and responsibilities enumerated in § 1082 are not “terms and
conditions” of a loan, but rather are “General Powers” assigned to the Secretary and

apply only to administration of FFEL loans. Had Congress wanted to incorporate all
or part of § 1082 into the Direct Loan Program it would have done so like it did in Part
E, the Perkins Loan Program. See 20 U.S.C. § 1087hh(3). That section specifically

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incorporates by reference § 1082(a)(2). Moreover § 1087hh(2) contains identical
“enforce, pay, compromise, waive, or release” language found in § 1082(a)(6). There is

no similar language or provision anywhere to be found in Part D. Conversely, there is
nothing in Subparts B or E that mention borrower-defense. This is not surprising; the
lending contract for a FFEL or Perkins loan is between the student and a third-party,

for which the government, as ultimate guarantor, might need to assume legal
responsibility. The lending contract for Direct loans is between the borrower and the
government.

       A statute “says what it says—or perhaps better put here, does not say what it
does not say.” Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, 138 S. Ct. 1061, 1069 (2018).
The parties’ and the district court’s tortured reading of § 1087e(a)(1) ignores the

compartmentalized statutory structure of Subchapter IV. The rights, responsibilities
and administrative features of each of the federal loan programs are mutually exclusive
unless otherwise specified like the § 1087hh reference to § 1082(a)(2). In the alternative,

had Congress wished to apply the “compromise, waive, or release” to all loan programs
it would have included it in Parts G or G-1. Congress did not, but rather only included
that language in Parts B and E. “Congress generally acts intentionally when it uses

particular language in one section of a statute but omits it in another.” Dep’t of Homeland
Security v. MacLean, 574 U.S. 383, 391 (2015).
       Hence, “the district court could hardly approve a settlement agreement that

violates a statute.” Southeastern Fed Power Customers, Inc. v. Geren, 514 F.3d 1316, 1321
(D.C. Cir. 2008) (citing Sierra Club, Inc. v. Elec. Controls Design, Inc., 909 F.2d 1350, 1355
(9th Cir. 1990)); see also Cohen v. Viray, 622 F.3d 188, 194-95 (2d Cir. 2010) (rejecting

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class action settlement that violated one provision of the Sarbanes-Oxley statute). In
Geren the D.C. Circuit rejected a settlement that violated a statute that limited the Army

Corps of Engineer’s discretion to alter reservoir water storage and usage to only minor
modifications. The court concluded that the settlement was a major operational change
requiring Congressional approval per the statute, notwithstanding that the Corps was

in a “difficult situation” and was trying to achieve a “creative solution.” Geren, 514 F.3d
at 1325. Similarly, the extreme backlog of BD claims cannot justify a settlement that is
not supported by any of the provisions of the HEA the parties or the district court rely

upon.
        When reading an act like the HEA the relevant provisions must be construed “as
a symmetrical and coherent regulatory scheme” that “fit, if possible, all parts into an

harmonious whole.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000).
A statute must be read as whole, and the meaning of a particular provision’s language
depends on context. Home Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1742, 1748 (2019);

Antonin Scalia & Bryan Garner, Reading Law 167 (2012). Here, the parties’
interpretation of the HEA, adopted by the district court, violates the basic cannons of
statutory interpretation.

        B.    The settlement ignores existing borrower-defense regulations and
              creates a new procedure in violation of APA § 553.

        The district court further abused its discretion when it allowed the parties to
modify the BD process. The district court stated that the settlement “has not altered
the borrower-defense procedures at all. Those regulations remain in place.” 1-ER-41.

But the district court undermines this brazen statement by conceding that the


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settlement “crafted a process” and that it “streamlined procedures” and incorporated
“a presumption of discharge and borrower-friendly procedures” for Groups 2 and 3. 1-

ER-41, 50, 34. This “new process” runs roughshod over the existing BD regulations,
and unlike the other iterations of the regulations, it bypassed the notice and comment
requirements of 5 U.S.C. § 553.

      Although the parties and the district court contend that the statutory basis for
the settlement is unrelated to § 1087e(h), the settlement essentially re-writes the BD
regulations to accomplish a political goal long sought by the current administration.

Group 1 bypasses the regulation requiring adjudication and simply is awarded full relief.
No decision on the merits; just blanket relief. The settlement modifies the BD process
for Groups 2 and 3, but the practical effect of the settlement will be complete relief for

those two subclasses because if ED doesn’t act on a claim within allotted time, those
Groups get the same full relief as Group 1.
      A key element of the settlement that highlights the collusion of the parties is the

treatment of Exhibit C, the list of schools attended by many the claimants, but not all
of them. According to the parties’ settlement, there is a presumption that the Exhibit C
schools engaged in “substantial misconduct.” 3-ER-559, 574. But according to the

parties, the settlement “does not constitute a successful or approved borrower-defense
claim” even for the borrowers who attended an Exhibit C school. 1-ER-43. This makes
no sense. A finding of misconduct is a prerequisite to resolving favorably a BD claim.

34 C.F.R. § 685.222(c) and (d) (borrower may assert successful claim if school breached
contract or made substantial misrepresentations). At the same time the parties
represented that inclusion on Exhibit C has “no binding or official determination of

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misconduct.” 1-ER-44; 3-ER-360. By so stipulating the Secretary is essentially
precluded from pursuing the schools to recoup losses under the BD regulations. 1-ER-

43, 44. This was a transparent attempt by the parties to avoid intervention by the Exhibit
C schools. See Local No. 93, Int’l Assoc. of Firefighters v. Cleveland, 478 U.S. 501, 529 (1986)
(stating that “parties who choose to resolve litigation through settlement may not . . .

impose duties or obligations on a third party without that party’s agreement”). The
parties did not want outside parties meddling with their “bonanza” settlement.
       The settlement disregards the BD regulations creating a whole new process to

resolve claims. Most egregiously, the settlement threw open the door to a whole new
set of borrowers, Group 3, who: (1) applied for BD relief after execution of the
settlement agreement on June 22, 2022; (2) need not have attended an Exhibit C school;

(3) will have their claims reviewed under a streamlined version of the 2016 BD
regulations regardless of whether those procedures are applicable to the borrower; and
(4) will get full debt relief and refunds if ED fails to act within three years.

       The district court gave short shrift to this Court’s holding in Conservation Northwest
v. Sherman, 715 F.3d 1181 (9th Cir. 2013). There this Court held a consent decree
improper because it constituted a “substantial and permanent” amendment to an

agency rule. That is exactly what transpired here.
        The settlement is distinguishable from the Turtle Island case relied on by the
district court because there the settlement preserved part of a new regulation, while

restoring a portion of a prior rule to maintain the status quo. Turtle Island Restoration
Network v. United States DOC, 672 F.3d 1160, 1168 (9th Cir. 2012). The settlement is also
distinguishable from the landmark case of Citizens for a Better Environment v. Gorsuch, 718

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F.2d 1117 (D.C. Cir. 1983). In that case the D.C. Circuit approved a settlement that
simply compelled the EPA to draft a regulatory program that complied with the Clean

Water Act. Id. at 1126. Here, rather than simply compelling the Secretary to adhere to
the statutorily prescribed BD regulations—which is what the original settlement
required—the district court joined with the parties to bypass those regulations and

create a whole new process for resolving class member claims. The “new process”
substantively resolves Group 1’s claims (full debt forgiveness and refunds) and pre-
ordains full relief for Groups 2 and 3 through revised procedures, presumptions of

misconduct, and deadlines for action unlikely to be met. This is particularly shocking
with respect to “post-class” Group 3 members. Those 205,000 claimants, who were
neither part of the original class or settlement, were simply clever enough to rush to get

a seat at the debt-forgiveness feeding frenzy before the doors closed. Now all they have
to do is wait for the inevitable three-years of inaction and their debt will be forgiven
and will get full refunds. Bonanza indeed! In approving the “new process” for Groups

2 and 3, which still rely to some degree on existing BD procedures, the district court
joined with the parties to reach a desired result. But “the APA does not empower the
district court to . . . order the agency to reach a particular result.” Mt. St. Helens Mining

& Recovery Ltd. P’ship v. United States, 384 F.3d 721, 728 (9th Cir. 2004).

       C.     The parties colluded to avoid Rule 23 certification problems.

       The settlement also runs afoul of Rule 23 because it does not meet basic
prerequisites under Rule 23(a). The parties premised the original settlement on a class

certification pursuant to Rule 23(b)(2) because the initial relief sought by plaintiffs was



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declaratory and injunctive—a demand that ED follow the BD regulations and act on
claims that had been submitted. This is what the district court relied upon when it

certified the class. 4-ER-808, 819-20.
      The district court abused its discretion when it maintained a class certification
that it rendered prior to the parties’ collusive settlement. 1-ER-48. In doing so, the

district court failed to perform the “rigorous analysis” of the Rule 23(a) prerequisites.
Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). The parties collusive settlement
fundamentally transformed the case from one that had been about alleged agency

inaction and which sought declaratory and injunctive relief, into one in which individual
monetary claims predominate and also includes a whole new subclass, Group 3. The
addition of Group 3 is contrary to the commonality and typicality prerequisites to

certification under Rule 23(a)(2) and (3). Likewise, mandating monetary relief to Group
1 runs afoul of Rule 23(b)(2) which was the premise of the initial certification. 4-ER-
819-20.

      The plaintiffs’ initial and revised complaint alleged that ED failed to act on BD
claims. The “common contention” of the initial class was the alleged prolonged inaction
by ED on their BD claims, and for which they sought uniform declaratory and

injunctive relief applicable across the class. 4-ER-893-94. But Group 3 has suffered no
“inaction” harm that initially led plaintiffs to file the complaint and was the premise of
the initial certification. Group 3 was invited to the debt-relief party after the parties

colluded to settle the case. Hence there is no commonality between Group 3 and the
other class members. See Alcantar v. Hobart Serv., 800 F.3d 1047, 1053 (9th Cir. 2015)



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(holding that party seeking certification must show a common contention capable of
class-wide resolution).

       Similarly, the addition of Group 3 is contrary to the typicality requirement under
Rule 23(a)(3). “The test of typicality is whether other members have the same or similar
injury, whether the action is based on conduct which is not unique to the named

plaintiffs, and whether other class members have been injured by the same course of
conduct.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984 (9th Cir. 2011) (quotations
omitted).

       The parties attempt to elude the Rule 23(a) problem by framing the lawsuit as
one that “challenged all aspects of [ED’s] process of adjudicating . . . pending BD
applications.” 2-ER-277. But Group 3 claims, by definition, could not have been

pending prior to settlement; they were invited to the party after the settlement was
finalized, and thus are neither typical nor common to Groups 1 and 2. It was and
remains impossible for Group 3 to have been harmed by either alleged ED inaction or

by any of the BD adjudication procedures, including the ones crafted by the settlement.
Hence, the district court abused its discretion when it certified the class and approved
the settlement.

       Moreover, the relief provided by the new settlement was far from the uniform
declaratory relief initially sought by the plaintiffs and precluded certification under Rule
23(b)(2). The new settlement is primarily one about monetary claims, while the

injunctive relief is an afterthought. Here the monetary claims at issue involve different
amounts to be refunded and canceled depending on the individual borrower. Such
“claims for individualized relief” cannot satisfy Rule 23(b)(2) because “the key to the

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(b)(2) class is ‘the indivisible nature of the injunctive or declaratory remedy warranted—
the notion that the conduct is such that it can be enjoined or declared unlawful only as

to all of the class members or as to none of them.’” Dukes, 564 U.S. at 360 (quoting
Richard A. Nagareda, Class Certification in the Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97,
132 (2009)).

       The settlement carves the class into sub-groups. Arguably, Groups 2 and 3 could
still be certified under Rule 23(b)(2) because on its face, the settlement only provides
declaratory and injunctive relief—requiring ED to act upon BD claims and render a

determination. Individualized monetary claims, however, predominate the relief for
Group 1, and as the Court explained, “individualized monetary claims belong in Rule
23(b)(3).” Dukes, 564 U.S. at 362; see also Riffey v. Rauner, 910 F.3d 314, 318 (7th Cir.

2017) (noting that refunds of improperly collected union fees was an action for
individualized damages that would have to satisfy Rule 23(b)(3)); Wang v. Chinese Daily
News, 737 F.3d 538, 544-45 (9th Cir. 2013) (noting that a court could certify 23(b)(2)

class for injunctive relief and a separate class for damages under 23(b)(3)); Gooch v. Life
Investors Ins. Co. of Am., 672 F.3d 402, 427-28 (6th Cir. 2012) (approving two-step
certification; one overall class seeking declaratory relief and a second, sub-class seeking

restitution and damages). Hence, the district court abused its discretion when it
maintained its earlier class certification relying on Rule 23(b)(2).
       The Secretary was not oblivious to this problem. The government submitted a

motion to decertify the class, noting that the requirements of Rule 23(a) and (b)(2) could
no longer be satisfied because there was no uniform declaratory relief applicable across
the class. 3-ER-499, 510, 520, 526. Simultaneously, it joined with the plaintiffs seeking

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preliminary approval of the settlement omitting any reference to Rule 23(a) or (b),
notwithstanding that standards for class certification at settlement are “undiluted, even

heightened.”3 Compare, 3-ER-554, 568, with Amchem Prods., Inc. v.. Windsor, 521 U.S. 591,
620 (1997). Rule 23 certification doesn’t depend on whether the settlement provides
grand societal benefits—that’s “a matter fit for legislative consideration.” Id. at 623.

Rule 23 does not countenance “judicial regulatory orders that more closely resemble
legislative regulation than they do the outcomes of traditional adjudication.” Donald G.
Gifford, The Constitutional Bounding of Adjudication: A Full(ierian) Explanation for the Supreme

Court’s Mass Tort Jurisprudence, 44 Ariz. St. L.J. 1109, 1154 (2012).

II.    The settlement undermines Constitutional separation of power
       limitations.

       “It is well settled than an agency is legally bound to respect its own regulations,
and commits procedural error if it fails to abide by them.” Portland GE Co. v. Bonneville

Power, 501 F.3d 1009, 1036 (9th Cir. 2007) (citation omitted); see also Shalala v. Guernsey
Mem’l Hosp., 514 U.S. 87, 110-11 (1995) (holding that agency is bound by the rules it
promulgates and cannot circumvent them). The borrower-defense provision, §

1087e(h), is one of the few specified exceptions to Congress’s expressed general intent
that student loans are to be repaid. Congress delegated this limited authority to the
Secretary to forgive student loans, but specifically required that it be done pursuant to

regulations. “There is no warrant in law for [an agency] to replace the [APA’s] statutory


       3 This inconsistency is glaring and courts should be skeptical “when the
government (or any litigant) speaks out of both sides of its mouth.” Bittner v. United
States, 143 S. Ct. 713, 722 n.5 (2023).


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scheme with a rule-making procedure of its own invention.” NLRB v. Wyman-Gordon
Co., 394 U.S. 759, 764 (1969). Here, the Secretary abandoned the regulations and

colluded with the plaintiffs to invent a new process not grounded in statutory or
regulatory authority in order to achieve a political goal of blanket student debt relief. In
doing so the Secretary, in conjunction with the Attorney General, fell short of their

Article II duty to “Take Care that the laws be faithfully executed.” U.S. Const. Art. II §
3; see Evan Bernick, Faithful Execution: Where Administrative Law Meets the Constitution, 108
Geo. L.J. 1, 48 (2019) (noting that Take Care clause “does not allow agencies to abdicate

their duty to implement the laws enacted by Congress”); Andrew Kent, et al., Faithful
Execution and Article II, 132 Harv. L. Rev. 2111, 2186-87 (2019).
       In negotiating the settlement, the Secretary repeatedly shirked his statutory and

regulatory duties, most notably in asserting that FFEL borrowers need not consolidate
their loans into direct loans to participate in the settlement, attaching limited
significance to Exhibit C such that it provided no basis for recoupment (1-ER-43), only

a justification for giving away billions of dollars, and then side-stepping the BD
regulatory procedures, agreeing with plaintiffs to craft a whole new process to resolve
the claims. 3-ER-554, 577-603. Such manipulative maneuvering and avoidance of legal

accountability demonstrates a disregard to faithfully execute laws. See Evan Criddle,
Fiduciary Foundations of Administrative Law, 54 U.C.L.A. L. Rev. 117, 128, 175 (2006). If
the original inaction to resolve plaintiffs’ BD claims was a breach of statutory and

regulatory duties—which was the original impetus of the lawsuit—then it is equally a
breach of the Secretary’s statutory and regulatory responsibilities to capitulate and agree
to a settlement that is outside the statutory and regulatory boundaries. Two wrongs

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don’t make a right. The settlement permits the Secretary to disregard the statutorily
prescribed BD regulations, and play fast and loose with the carefully constructed

statutory framework of the HEA, cherry-picking the provisions that appear to facilitate
the agreement while ignoring the ones that don’t. Carefully crafted statutory and
regulatory schemes, such as the financial aid provisions of the HEA, do not vest agency

officers with hidden “discretion for administrative relief.” Addison v. Holly Hill Fruit
Prods., Inc., 322 U.S. 607, 616 (1944). “The federal government’s regulatory role in areas
ranging from education to natural resources to homeland security is made possible by

the public’s general acceptance of administrative agencies as fiduciary institutions
capable of following legislative directives in good faith, suppressing self-interest, and
resisting the distorting pressures of pork-barrel politics.” Criddle, supra at 147. The

Secretary’s conduct fell short of that standard when negotiating this settlement.
       Not only is the settlement a breach of the Secretary’s duty to faithfully execute
the law, but more egregiously, it usurps Congress’s power of the purse under the

Appropriations Clause. U.S. Const. Art. I § 9. Essentially the settlement allows the
Secretary to steal Congress’s keys to the Treasury and hand them to the plaintiff class,
all with the district court’s nodding approval.

       The Appropriations Clause is intended “to assure that public funds will be spent
according to the letter of the difficult judgments reached by Congress as to the common
good, and not according to the individual favor of Government agents or the individual

pleas of litigants.” Office of Pers. Mgmt. v. Richmond, 496 U.S. 414, 428 (1990); see also Clinton
v. City of New York, 524 U.S. 417, 451 (1998) (Kennedy, J., concurring) (“Money is the
instrument of policy and policy affects the lives of citizens. The individual loses liberty

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in a real sense if that instrument is not subject to traditional constitutional constraints.”).
An executive branch agency, whether or its own or acting in concert with private

plaintiffs, does not have the authority to avoid the law in favor of its own desired
political goal. Richmond, 496 U.S. at 435 (J. White, concurring) (“The Executive Branch
does not have the dispensing power on its own . . . and should not be granted such a

power by judicial authorization.” (citation omitted)). The district court should have
resisted the parties’ usurpation of Congressional power because protecting the power
of the purse is “vital to the integrity and maintenance of the system of government

ordained by the Constitution.” Marshall Field & Co. v. Clark, 143 U.S. 649, 692 (1892);
see also The Federalist No. 48 (Madison) (noting that judicial branch must restrain the
executive branch “from passing the limits assigned to it” under the Constitution).

       The district court abused its discretion when it approved a settlement that
breached the most basic separation of powers tenants. “The accumulation of all powers,
legislative, executive, and judiciary, in the very same hands … may justly be pronounced

the very definition of tyranny.” The Federalist No. 47 (Madison). “The primary protection
of individual liberty in our constitutional system comes from the separation of powers
in the Constitution: the separation of the power to legislate from the power to enforce

from the power to adjudicate.” Brett M. Kavanaugh, Our Anchor for 225 Years and
Counting The Enduring Significance of the Precise Text of the Constitution, 89 Notre Dame L.
Rev. 1907, 1915 (2014). The parties’ settlement blurs those lines of separation, if not

outright wipes them away.
       Congress has set forth explicit requirements that loans be made available to
eligible borrowers with the very clear intention that they be repaid. See 20 U.S.C. §

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1077(a)(2)(B) (“[A] loan by an eligible lender shall be insurable by the Secretary . . . [ if
it is] evidenced by a note or other written agreement which . . . provides for repayment

. . . of the principal amount of the loan in installments over a period of not less than 5
years . . . nor more than 10 years.”); 20 U.S.C. § 1083(a)(1) (“Each eligible lender . . .
shall provide thorough and accurate loan information . . . to the borrower . . . [including]

a statement prominently and clearly displayed and in bold print that the borrower is
receiving a loan that must be repaid.”). The regulations tied to Direct Loans state that
borrowers are expected to repay loans. 34 C.F.R. § 685.207(a)(1) (“A borrower is

obligated to repay the full amount of a Direct Loan, including the principal balance,
fees, any collection costs . . . and any interest . . . unless the borrower is relieved of the
obligation to repay as provided in this part.”).

       More generally, the Federal Claims Collection Act obligates Executive agencies
such as the ED and DOJ to “try to collect a claim of the United States Government
for money . . . arising out of the activities of, or referred to, the agency.” 31 U.S.C. §

3711(a)(1). An agency must “aggressively collect all debts” arising out of its activities,
like issuing federally held student loans. 31 C.F.R. § 901.1(a). Arguably, this would also
include an obligation by ED to follow the recoupment procedures in 34 C.F.R. §

685.222, but the settlement intentionally dodges this obligation. The law is also clear
that agencies are only delegated limited authority to compromise claims of the
Government. See 31 U.S.C. § 3711(a)(2)–(3) (discussing when an agency may

compromise a claim of the Government); 31 C.F.R. § 902.2 (same); 31 C.F.R. § 902.3
(explaining that agencies may compromise a Government claim “if the agency’s
enforcement policy in terms of deterrence and securing compliance . . . will be

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adequately served”). In this instance, deterrence is not served as demonstrated by the
Secretary permitting Group 3 to participate in the settlement.

      When Congress permits the Secretary to cancel student debt for a class of
borrowers, it explicitly describes those groups. E.g., 20 U.S.C. §1078-10 (teachers); 20
U.S.C. §1078-10(c)(3) (teachers in mathematics, science, or special education); 20 U.S.C.

§1078-11 (service in areas of national need); 20 U.S.C. §1087ee (certain public service);
20 U.S.C. §1098(d) (disabled veterans).
      True, BD claimants are a group that Congress saw fit to allow debt forgiveness,

but it was a narrowly tailored delegation of authority to the Secretary. A claimant had
to satisfy statutorily prescribed regulations to achieve relief and the Secretary may
recoup losses from the offending schools. The settlement bypasses those regulations

and goes far beyond the limited delegation of authority in § 1087e(h) to achieve mass
debt cancelation, something Congress has “conspicuously and repeatedly declined to
enact.” W. Virginia v. EPA, 142 S. Ct. 2587, 2610 (2022); see, e.g., S. 2235, 116th Cong.

§101 (2019) (cancelling up to $50,000 of student loan debt for those who make under
$100,000) (died without vote after being referred to committee); H.R. 2034, 117th
Cong. § 2 (2021) (cancelling the outstanding balance on loans for all borrowers under a

certain income cap) (died without vote after being referred to committee). Even after
Congress added the borrower-defense provision (Pub. L. 103-66, § 4021, 107 Stat. 312
(Aug. 10, 1993), Congress made it harder, rather than easier, to cancel student-loan

debt—for example, making it tougher to discharge federally guaranteed loans in
bankruptcy. 11 U.S.C. § 523(a)(8); Pub. L. 109-8 § 220, 119 Stat. 23, 59 (Apr. 20, 2005).



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       Neither the Secretary nor the Attorney General was authorized to agree to the
parties’ settlement because it does not comport with the Constitution, the relevant

statute and accompanying regulations, or Rule 23. “The Attorney General’s authority
to settle litigation for its government clients stops at the walls of illegality” and “does
not include license to agree to settlement terms that would violate the civil laws

governing the agency.” Carpenter v. United States, 526 F.3d 1237, 1242 (9th Cir. 2008)
(quoting Executive Bus. Media, Inc. v. U.S. Dep’t of Defense, 3 F.3d 759, 761-62 (4th Cir.
1993)).

       Instead of attempting to preserve the original settlement which did not run afoul
of the Constitution’s separation of powers, the district court abused its discretion when
it approved the new settlement, thereby undermining the tripartite Federal system that

was intended to act as “a self-executing safeguard against encroachment . . . of one
branch at the expense of the other.” Clinton v. Jones, 520 U.S. 681, 699 (1997). The
plaintiffs initiated this case as a simple request to resolve BD claims under § 1087e(h).

4-ER-834, 893-94. The parties along with the district court allowed it to morph into
something unmoored from the Constitution. Rather than approving the revised
settlement, the district court should have been acting as a check on the Executive

branch’s failure to faithfully take care to follow the narrow statutory delegation
contained in § 1087e(h) and not unilaterally appropriate billions of dollars to achieve a
political goal. The unfortunate result is a settlement that runs afoul of Constitutional

limitations.




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                                    Conclusion

     This Court should reverse the decision of the district court.



Dated: May 10, 2023                    Respectfully submitted,

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  Pursuant to 9th Circuit Rule 32-1 for Case Numbers 2315049, -15050, -15051

       I certify that: This brief complies with the length limits permitted by Ninth
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                                         /s/Neville S Hedley
                                         Neville S. Hedley




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